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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DAVONTAE ROSS, TIMOTHY
LUCAS, STARMANIE JACKSON,
KUSHAWN MOORE, JR., a minor,
by his parent and next friend,
KUSHAWN MOORE, SR., ASIA
DIXON, KEITH WILSON, and
KATRINA GARDNER,

      On behalf of themselves and all
others similarly situated,
                                             Case 2:19-cv-11076-LJM-EAS
            Plaintiffs,
                                             Honorable Laurie J. Michelson
v.                                           Magistrate Judge Elizabeth A. Stafford

Honorable NANCY M. BLOUNT, in her
official capacity as Chief Judge of
Michigan’s 36th District Court;
BARI BLAKE WOOD, MILLICENT D.
SHERMAN, LAURA A. ECHARTEA,
DAWN WHITE, and JEFFREY
KLEPAREK, in their official capacities
as Magistrates of Michigan’s 36th District
Court; and BENNY N. NAPOLEON, in his
official capacity as Sheriff of Wayne
County, Michigan,

            Defendants.


           STIPULATED ORDER REGARDING STAY OF CASE

      This matter having come before the Court upon the stipulation of the Plaintiffs

and Defendants Honorable Nancy M. Blount, in her official capacity as Chief Judge
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of Michigan’s 36th District Court, Bari Blake Wood, Millicent D. Sherman, Laura

A. Echartea, Dawn White, and Jeffrey Kleparek, in their official capacities as

Magistrates of Michigan’s 36th District Court (collectively, “Judicial Defendants”),

and Benny N. Napoleon, in his official capacity as Sheriff of Wayne County,

Michigan (“Sheriff Defendant”) through their respective counsel, hereby stipulate

and agree to the instant order (“Stipulated Stay Order”).

      In order to allow time for discussions between the parties aimed at reaching a

mutually agreeable resolution of this matter, Plaintiffs, Judicial Defendants and

Sheriff Defendant agree that this case be STAYED. The parties also agree that all

outstanding motions, including the motions to dismiss and the motion for class

certification, will remain pending during the stay.

      This Stipulated Stay Order may be lifted immediately by a “Notice of Lifting

Stipulated Stay Order” being filed by the Plaintiffs or Judicial Defendants. This

Stipulated Stay Order may also be lifted based on the entry of an order granting a

motion filed by Sheriff Defendant to lift this Stipulated Stay Order.              Upon

dissolution of the stay, Plaintiffs have up to 21 days to file their response to Judicial

Defendants’ pending motion to dismiss and to file their response to Sheriff

Defendant’s pending motion to dismiss. Judicial Defendants have up to 22 days

from the date of Plaintiffs’ response filing to their pending motion to dismiss to file




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their reply. Sheriff Defendant has up to 22 days from the date of Plaintiffs’ response

filing to his pending motion to dismiss to file his reply.

      IT IS HEREBY ORDERED that this case is stayed pursuant to the terms set

forth in this Stipulated Stay Order.

Date: August 23, 2019                          s/Laurie J. Michelson
                                               United States District Judge




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We hereby stipulate to entry of the foregoing Order
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